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                                       UNITED STATES DISTRICT COURT
 8
                                    NORTHERN DISTRICT OF CALIFORNIA
 9
10    ALEKSANDR L. YUFA                                            Case No. 09-01315 KAW
11                                Plaintiff,
                                                                   The Honorable Kandis A. Westmore
12            v.
                                                                   [PROPOSED] ORDER CONFIRMING
13    TSI INCORPORATED                                             SALE OF PATENTS, ENTERING
                                                                   SATISFACTION OF JUDGMENT, AND
14                                                                 TERMINATING THE RECEIVERSHIP
                                  Defendant.
15                                                                 AS MODIFIED
16
17
18              Defendant TSI, Inc.’s Motion to Confirm the Sale of Patents, Enter Satisfaction of

19   Judgment, and Terminate the Receivership of Greyhound IP LLC (“Receiver”), came before the

20   Honorable Magistrate Judge Kandis A. Westmore, in the United States Courthouse for the

21   Northern District of California. On February 6, 2019, Dr. Yufa filed a partial notice of non-

22   opposition, which included objections that were not substantive in nature. (Dkt. No. 304.)

23   Therein, Dr. Yufa affirmatively stated that he did not oppose the confirmation of the Receiver’s

24   sale of the patents, TSI’s decision to not add the Receiver’s costs to the amount of the judgment,

25   entering the satisfaction of the judgment in full, and the Court’s termination of the receivership.

26   Id. at 2.

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     Case No. 09-01315 KAW                                  1      [Proposed] Order Confirming Sale of Patents, Entering
           Satisfaction of Judgment and Terminating Receivership
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 1           Accordingly, after considering the evidence and points and authorities submitted by the

 2   parties, IT IS ORDERED THAT:

 3           1.       Defendant’s Motion to Confirm the Sale of Patents, Enter Satisfaction of

 4   Judgment, and Terminate the Receivership is GRANTED.

 5           2.       The Receiver’s sale of United States Patents (“Patent Portfolio”): 7,573,573;

 6   7,439,855; 6,346,983; 6,034,769; 5,969,665; 5,946,091; 5,767,967, and any continuation,

 7   continuation-in-part, or divisional applications(s) related to, and/or that derive priority from, the

 8   foregoing patents, and any foreign counterparts thereof, including the rights to all past damages as

 9   well as all income derived from these patents, is hereby confirmed pursuant to California Code of

10   Civil Procedure § 568.5.

11           3.       The Receiver shall assign all rights, title, and interest in the Patent Portfolio to TSI

12   using the form identified as Exhibit H to the January 23, 2019 Declaration of Mitchell Rosenfeld.

13           4.       Upon this confirmation of the sale and approval of the assignment, TSI’s judgment

14   against Dr. Yufa originally in the amount of $166,364.88 is hereby satisfied in full.

15           5.       Greyhound IP LLC’s receivership is hereby terminated.

16           LET JUDGMENT BE ENTERED ACCORDINGLY.

17
18   Dated: February 20, 2019                                  _________________________
                                                               KANDIS A. WESTMORE
19                                                             United States Magistrate Judge
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     Case No. 09-01315 KAW                              2      [Proposed] Order Confirming Sale of Patents, Entering
       Satisfaction of Judgment and Terminating Receivership
